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IN THE UNITED sTATES DISTRICT coURT “ ‘__;.¢’-~-_ ->~".
FOR THE wEsTERN DISTRICT oF TENNESSEE {?;-5,1¢7.,/
wESTERN DIVISION -

 

 

ROBER'I' JOE HOOD,

Petitioner,
vs. No. 04-2590-Ml/V
MARK H. LUTTRELL, JR.,

Respondent.

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ORDER GRANTING MOTION FOR RECONSIDERATION
ORDER VACATING DECEMBER 23, 2004, ORDER AND JUDGMENT
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Petitioner Robert Joe Hood, Tennessee Department of
Correction (“TDOC”) prisoner number 113059, Who is currently
incarcerated at the Shelby County Criminal Justice Center (“Jail”),
Where his booking number is 4128654,1 filed a prg §§ petition for
a writ of habeas corpus pursuant to 28 U.S.C. § 2254 on July 30,
2004. Hood filed additional documents in support of his petition on
September 7, 2004. The Court issued an order on November 9, 2004,

directing Hood, within thirty {30) days, either to submit a

 

1 Although Hood's booking number appears on the docket sheet, it

apparently is not printing on the mailing label, which includes only Hood’s TDOC
number. In order to ensure proper delivery of this order, the Clerk is ORDERED
to correct the docket to list the Petitioner's booking number on the mailing
envelope.

T?w'e document entered on the docket sheet In compHence §
5

wirh Rule 58 andfor 79{3) FRCP on . 2’ HQ 'OJ

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properly completed in fgrma pauperis affidavit demonstrating his
indigency, along with an inmate trust fund account statement, or
pay the habeas filing fee. The Court issued an order dismissing the
petition without prejudice for failure to prosecute on December 23,
2004, because it appeared that Hood. had. not responded. to the
Court's order. Judgment was entered on December 23, 2004.
Subsequently, on January 6, 2005, Hood filed a motion for
reconsideration, which the Court construes as a motion pursuant to
Fed. R. Civ. P. 60(b)(l), on the basis that he paid the filing fee
on December 2, 2004, but, due to an apparent error by the Clerk,
the payment was erroneously applied to a habeas petition filed by
another inmate. For good cause shown, the motion for
reconsideration is GRANTED and the December 23, 2004, order and
judgment are VACATED, with the sole exception of that portion of
the December 23, 2004, order that corrected the docket to reflect
Hood's current address and booking number. The Clerk is ORDERED to
correct his records to reflect that the payment identified by
Receipt No. M91905, which had been erroneously credited to case no.
04-2934, should be credited to this case.
I. STATE COURT PROCEDURAL HISTORY

Hood was convicted following a jury trial in the Shelby
County Criminal Court of at least one count of first degree murder
and, on or about June 4, 2004, he was sentenced to death. His

direct appeal is pending.

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II. PETITIONER’S FEDERAL HABEAS CLAIMS

In this federal habeas petition, Hood raises four issues,
which are not clearly articulated, pertaining to a warrant used to
extradite him, the grand jury indictment, a purported violation of
his right to a speedy trial, and a claim that his conviction
somehow violates double jeopardy. On September 7, 2004, Hood filed
a document, entitled “Petition for Relief for Violation of the
United States Constitution; Article IV; Section 2; Title 18 United
States Constitution Annotated; Section 3182; and Tennessee
Constitution; Article VI; Section 12,” in which he elaborates on
his challenges to his extradition from Colorado and the indictment.
III. ANALYSIS

Twenty-eight U.S.C. § 2254(b) states, in pertinent part:

(l) An, application for a writ of habeas corpus on
behalf of a person in custody' pursuant to the
judgment of a State court shall not be granted

unless it appears that-

(A) the applicant has exhausted the remedies
available in the courts of the State; or

(B) UJ there is an absence of available State
corrective process; or

(ii) circumstances exist that render such
process ineffective to protect the rights
of the applicant.

(2) An application for a writ of habeas corpus may be
denied on the merits, notwithstanding the failure
of the applicant to exhaust the remedies available
in the courts of the State.

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Thus, a habeas petitioner must first exhaust available state
remedies before requesting relief under § 2254. E.g., Granberry v.
§r§§;, 481 U.S. 129, 133-34 (1987); Rose v. Lundy, 455 U.S. 509,
519 (1982); Rule 4, Rules Governing Section 2254 Cases in the
United States District Courts (“Section 2254 Rules”). A petitioner
has failed to exhaust his available state remedies if he has the
opportunity to raise his clain1by any available state procedure. 28
U.S.C. § 2254(c); Preiser v. Rodriguez, 411 U.S. 475, 477, 489-90
(1973).

To exhaust his state remedies, the petitioner must have
presented the very issue on which he seeks relief from the federal
courts to the courts of the state that he claims is wrongfully
confining him. Picard v. Connor, 404 U.S. 270, 275“76 (1971); 3§§;
v. Zent, 17 F.3d 155, 160 (6th Cir. 1994). “[A] claim for relief in
habeas corpus must include reference to a specific federal
constitutional guarantee, as well as a statement of the facts which
entitle the petitioner to relief.” Gray v. Netherland, 518 U.S.
152, 162-63 (1996). “‘[T]he substance of a federal habeas corpus
claim must first be presented to the state courts.’” ;QL at 163
(quoting Picard, 404 U.S. at 278). A habeas petitioner does not
satisfy the exhaustion requirement of 28 U.S.C. § 2254(b) “by
presenting the state courts only with the facts necessary to state

a claim for relief.” Id.

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Conversely, “[i]t is not enough to make a general appeal
to a constitutional guarantee as broad as due process to present
the ‘substance’ of such a claim to a state court.” ;QL When a
petitioner raises different factual issues under the same legal
theory he is required to present each factual claim to the highest
state court in order to exhaust his state remedies. O’Sullivan v.
Boerckel, 526 U.S. 838, 845 (1999); see also Pillette v. Foltz, 824
F.2d 494, 496 (6th Cir. 1987). He has not exhausted his state
remedies if he has merely presented a particular legal theory to
the courts without presenting each factual claim. §ill§;;§, 824
F.2d at 497-98. The claims must be presented to the state courts as
a matter of federal law. “It is not enough that all the facts
necessary to support the federal clain1 were before the state

courts, or that a somewhat similar state-law claim was made.”

 

 

Anderson v. Harless, 459 U.S. 4, 6 (1982); see also Duncan v.
Henry, 513 U.S. 364, 366 (1995) (per curiam) (“If a habeas

petitioner wishes to claim that an evidentiary ruling at a state
court trial denied him the due process of law guaranteed by the
Fourteenth Amendment, he must say so, not only in federal court,
but in state court.”).

Moreover, the state court decision must rest primarily on
federal law. Coleman v. Thompson, 501 U.S. 722, 734-35 (1991). If
the state court decides a claim on an independent and adequate

state ground, such as a procedural rule prohibiting the state court

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from reaching the merits of the constitutional claim, the
petitioner ordinarily is barred by this procedural default from
seeking federal habeas review. Wainwriqht v. Sykes, 433 U.S. 72,
87-88 (1977). However, the state»court decision need not explicitly
address the federal claims; instead, it is enough that the
petitioner’s brief squarely presents the issue. Smith V. Digmon,
434 U.S. 332 (1978) (Per curiam); see also Baldwin v. Reese, 124 S.
Ct. 1347, 1350-51 (2004) (a federal habeas claim is fairly
presented to a state appellate court only if that claim appears in
the petitioner's brief).

When a petitioner's claire have never‘ been actually
presented to the state courts but a state procedural rule prohibits
the state court from extending further consideration to them, the
claims are deemed exhausted, but procedurally barred. Coleman, 501
U.S. at 752-53; Teague v. Lane, 489 U.S. 288, 297-99 (1989);
Wainwright, 433 U.S. at 87-88; Bu§;, 17 F.3d at 160.

A.petitioner confronted.with either variety of procedural
default must show cause for the default and that he was prejudiced
in order to obtain federal court review of his claim. Teague, 489
U.S. at 297-99; Wainwright, 433 U.S. at 87-88. Cause for a
procedural default depends on some “objective factor external to
the defense” that interfered with the petitioner's efforts to
comply with the procedural rule. Coleman, 501 U.S. at 752-53;

Murray v. Carrier, 477 U.S. 478r 488 (1986).

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A. petitioner may avoid the procedural bar, and the
necessity of showing cause and prejudice, by demonstrating “that
failure to consider the claims will result in a fundamental
miscarriage of justice.” Coleman, 501 U.S. at 750. The petitioner
must show that “‘a constitutional violation has probably resulted
in the conviction of one who is actually innocent.’” Schlup v.
Qelg, 513 U.S. 298, 327 (1995) (quoting Murray, 477 U.S. at 496).
“To establish the requisite probability, the petitioner must show
that it is more likely than not that no reasonable juror would have
convicted him in the light of the new evidence.” ld;

In this case, Hood's direct appeal is pending in state
court andq thereforer he `has not exhausted any' of the claims
presented in this petition. Because the petition contains only
unexhausted claims, it must be DISMISSED without prejudice. gee
Rose v. Lundy, 455 U.S. 509, 518-19 (1982).

Because it “plainly appears from the face of the petition
and any exhibits annexed to it that the petitioner is not entitled
to relief in the district court,” summary' dismissal prior to
service on the respondent is proper. Rule 4, Section 2254 Rules.
The petition is DISMISSED.

IV. APPEAL ISSUES
The Court must also determine whether to issue a

certificate of appealability (“COA”). The statute provides:

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(1) Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be
taken to the court of appeals frome
(A) the final order in a habeas corpus proceeding

in which the detention complained of arises
out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.
(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) {district
judges may issue certificates of appealability under the AEDPA). No
§ 2255 movant may appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been
resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'” Slack,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue

limitations on the issuance of certificates of appealability:

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[O]ur opinion in Slack held that a COA does not require
a showing that the appeal will succeed. Accordingly, a
court of appeals should not decline the application of a
COA merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in
Slack would mean very little if appellate review were
denied because the prisoner did not convince a judge, or,
for that matter, three judges, that he or she would
prevail. It is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.'”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting Barefoot,

463 U.S. at 893). Thus,

A prisoner seeking a COA must prove “‘something more
than the absence of frivolity'” or the existence of mere
“good faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
Indeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

;§L at 338 (quoting Barefoot, 463 U.S. at 893); see also idé at 342
{cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying constitutional claim, not the
resolution of that debate.”).2

In this case, there can be no question that any appeal by

this Petitioner on the issues raised in this petition does not

 

2 By the same token, the Supreme Court also emphasized that “[o]ur

holding should not be misconstrued as directing that a COA always must issue.rr
Id. at 337. Instead, the COA requirement implements a system of “differential

treatment of those appeals deserving of attention from those that plainly do
not.” Id.

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deserve attention for the reasons previously stated. The Court,
therefore, DENIES a certificate of appealability.
The United States Court of Appeals for the Sixth Circuit
has held that the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(b), does not apply to appeals of orders denying §
2254 petitions. Kincade v. Sparkman, 117 F.3d 949, 951 (6th Cir.
1997); pip McGore v. Wrigglesworth, 114 F.3d 601 (6th Cir. 1997)
(instructing courts regarding proper PLRA procedures in prisoner
civilerights cases). Rather, to seek leave to appeal lp §p;m§
pauperis in a § 2254 Case, and thereby avoid the $255 filing fee
required by 28 U.S.C. §§ 1913 and 1917,3 the petitioner must seek
permission from the district court under Rule 24(a) of the Federal
Rules of Appellate Procedure. Kincade, 117 F.3d at 952. If the
motion7 is denied, the jpetitioner* may' renew the xnotion. in the
appellate court.
Rule 24(a) of the Federal Rules of Appellate Procedure

states, in pertinent part, that:

A party to an action in a district court who desires to

proceed on appeal gp fppma pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by
Form 4 of the Appendix of Forms, the party's inability to

 

3 Effective November 1, 2003r the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, I 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon_ the filing' of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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pay fees and costs or to give security therefor, the
party's belief that that party is entitled to redress,
and a statement of the issues which that party intends to
present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. It
is therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any

appeal in this netter by this Petitioner is not taken in good

faith, and he may not proceed on appeal pp forma pauperis.

IT IS SO ORDERED this ll day of May, 2005.

J N PHIPPS MCCALLA
ITED STA'I'ES DIS'I‘RIC'I‘ JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02590 Was distributed by fax, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

Robert Joe Hood
SCCC

l 13059

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Honorable J on McCalla
US DISTRICT COURT

